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                                        December 3, 2019

Via ECF
The Honorable Vernon S. Broderick
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square, New York, NY 10007

Re:    In Re Application of Hornbeam Corp.; No. 14 Misc. 424, Part 1, S.D.N.Y (VSB)

Dear Judge Broderick:

       Intervenor Panikos Symeou submitted a three page letter, ECF 188, in response to the
November 13, 2019 Order, ECF 185, allowing the parties to submit “additional information the
Court should consider in deciding whether good cause exists for modifying the SAPO [Second
Amended Protective Order], or whether Symeou’s requested relief—winding up these proceedings
in accordance with SAPO sections 15(c) and (d)—is appropriate”.

       In contrast, after telling this Court that it would file new BVI proceedings for almost five
years, Applicant Hornbeam Corp. filed a last-minute motion to amend the SAPO, ECF 186 and
187, to allow use of the discovery in domestic proceedings. Symeou intends to respond to
Hornbeam’s motion by December 11 in the normal course under Local Civ. Rule 6.1(b).

                                             Sincerely,
                                             /s/ Bruce S. Marks
                                             Bruce S. Marks
                                      For:   Marks & Sokolov, LLC
                                             Counsel for Intervenor Panikos Symeou




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                    PHILADELPHIA                 |                   MOSCOW
